                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Zhejiang Sairen Trading Co., Ltd,
                     Plaintiff,                  Case No. 22 cv 2046

       v.                                        District Judge Thomas M. Durkin

Individuals, Partnerships, and                   Magistrate Judge Sheila M. Finnegan
Unincorporated Associations on Schedule
“A”,

                      Defendants.



                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Zhejiang Sairen

Trading Co., Ltd (“Plaintiff”) hereby dismisses this action with prejudice as to the following

Defendants:

              Defendant Name                                        Line No.

                  g128 llc



DATED JULY 18, 2022                                  Respectfully submitted,

                                                     /s/ James A. Karamanis
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